    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 1 of 11 Page ID
                                     #:1540




NB161106                                                    Young Decl. p. 11
                                                         ‐ China Textile Patterns
    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 2 of 11 Page ID
                                     #:1541




NB161106                                                    Young Decl. p. 11
                                                          ‐ Dorsey Sitley Adler
    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 3 of 11 Page ID
                                     #:1542




NB161106                                                    Young Decl. p. 11
                                                           ‐ Black Background
    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 4 of 11 Page ID
                                     #:1543




NB161106                                                    Young Decl. p. 11
                                                           ‐ Black Background
    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 5 of 11 Page ID
                                     #:1544




NB161106                                                    Young Decl. p. 11
                                                           ‐ Black background
    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 6 of 11 Page ID
                                     #:1545




NB161106                                                    Young Decl. p. 11
                                                           ‐ Black background
    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 7 of 11 Page ID
                                     #:1546




NB161106                                                    Young Decl. p. 18
                                                               ‐ Exhibit U
    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 8 of 11 Page ID
                                     #:1547




NB161106                                                    Young Decl. p. 18
                                                               ‐ Exhibit U
    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 9 of 11 Page ID
                                     #:1548




NB161106                                                    Young Decl. p. 18
                                                               ‐ Exhibit U
    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 10 of 11 Page ID
                                     #:1549




NB161106                                                     Young Decl. p. 18
                                                                ‐ Exhibit U
    Case 2:20-cv-11181-CAS-JPR Document 76-1 Filed 11/23/21 Page 11 of 11 Page ID
                                     #:1550




NB161106                                                     Young Decl. p. 18
                                                                ‐ Exhibit U
